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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                                    IN ADMIRALTY
                                 WEST PALM DIVISION




  PROVIDENT BANK

         Plaintiff,

  v.
                                                     CASE NO:
  DONALD W. MILLER

         Defendant.




                                          COMPLAINT

         COMES NOW, PROVIDENT BANK ("PROVIDENT"), by and through its undersigned

  Counsel, and files this, its Complaint against DONALD W. MILLER ("MILLER) and would

  allege as follows:

                           PARTIES JURISDICTION AND VENUE

         1.      This is admiralty and maritime action within the meaning of Rule 9(h). This Court

  has subject matter jurisdiction pursuant to 46 U.S.C. §31325, the Ship Mortgage Act.

         2.      Plaintiff PROVIDENT BANK is a New Jersey Corporation with its principal

  business address at 10 Woodbridge Center Drive, Woodbridge, New Jersey 07095.

         3.      Defendant MILLER is a resident of Palm Beach County, Florida, residing at 2347

  Prosperity Bay Court, Palm Beach Gardens, Florida 33410.

         4.      Venue is proper where Defendant MILLER resides in Palm Beach County, Florida.
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                                           GENERAL ALLEGATIONS

           5.       On or about December 2, 2005, Sovereign Holdings, LLC. (a single member LLC

  owned by MILLER) entered into a New Jersey Promissory Note and Security Agreement with

  Elite Financial Group, Inc. for the principal amount of $152,500.00, with interest at the rate of 6.9

  percent per annum for a period of 240 months. A true and correct copy of the Promissory Note

  and Security Agreement ("Note") is attached hereto as EXHIBIT "A."

           6.       As further security for the monies advanced pursuant to the Note, Sovereign

  Holdings, LLC granted PROVIDENT BANK a mortgage on the M/Y Legal Ease, a 2005

  Adventure Motor Yacht, USCG Official Number 1175776, Hull Identification Number

  VNM00315E505 ("Vessel"). A true and correct copy of the "Mortgage" is attached hereto as

  EXHIBIT "B."

           7.       The Mortgage was duly and validly recorded with the United States Coast Guard

  National Vessel Documentation Center on April 10, 2006 at 1:18P.M. at Batch Number 478867

  and Doc. ID: 5227087.

           8.       As further security for the monies advanced pursuant to the Note, on or about

  December 2, 2005, MILLER executed an unlimited Guaranty. A true and correct copy is attached

  hereto as EXHIBIT "C."

           9.       The Note and Security Agreement and Guaranty were assigned to the PROVIDENT

  BANK on December 2, 2005. A copy of the assignment is attached hereto as EXHIBIT "D."

           10.      In approximately June, 2020, the loan went into default where payments were not

  made pursuant to the terms of the Note Mortgage and Guaranty. Thereafter, PROVIDENT took

  possession of the Vessel in early September, 2021.

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           11.      On or about September 8, 2021, PROVIDENT sent a copy of its Notice of Intent to

  Sell the Vessel to Sovereign Holdings, LLC. and MILLER. A true and correct copy of the Notice

  is attached hereto as EXHIBIT "E."

           12.      The Vessel was marketed by National Liquidators, and sold at a private sale on

  October 18, 2021 for a gross amount of $70,800.00.                            Taking into account commission,

  repossession charges, storage and other charges attendant to the sale of the Vessel, the net sales

  proceeds were $59,685.00. A copy of a Post Sale Notice is attached hereto as EXHIBIT "F."1

           13.      Taking into account the credit of the proceeds of the sale from the Vessel, as of

  October 31, 2022, MILLER owes $46,628.54 with per diem interest thereafter in the amount of

  $7.18 each day.

           14.      PROVIDENT BANK has retained undersigned Counsel and is entitled to the

  recovery of its reasonable attorney's fees from MILLER.

           15.      PROVIDENT BANK has satisfied all conditions precedent to bringing the instant

  lawsuit.

                                     COUNT I: BREACH OF GUARANTY

           16.      PROVIDENT BANK realleges and re-avers the allegations contained in

  paragraphs 1-15 above as if fully set forth herein.

           17.      MILLER breached the note, mortgage and guaranty by failing to make installment

  payments when due.




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           The Post Sale Notice includes $1,552.50 in attorney's fees which has been removed from
  the principal amount owing herein and instead will be sought as attorney's fees post judgment.
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           18.      As a result, PROVIDENT BANK exercised its right to repossess and sell the Vessel

  as reflected in the Notice of Plan to Sell Property and Post Sale Notice attached hereto.

           19.      At all times material hereto, PROVIDENT BANK and its agents marketed and sold

  the Vessel in a commercially reasonable standard.

           20.      After the sale of the Vessel there remained a deficiency balance owed. MILLER

  had a contractual obligation to pay the deficiency balance owed after the sale of by virtue of the

  Guaranty.

           21.      Despite Plaintiff's demands, MILLER breached his contractual duty by failing to

  pay the deficiency balance owed.

           22.      As a result of MILLER's breach, PROVIDENT BANK has suffered damages. As

  of October 31, 2022, MILLER owes $46,628.54 with per diem interest thereafter in the amount of

  $7.18.

           23.      PROVIDENT BANK has been required to retain undersigned counsel to prosecute

  this action. PROVIDENT BANK is entitled to its reasonable attorney's fees and costs pursuant to

  the terms of the Note, Mortgage and Guaranty.

           WHEREFORE, PROVIDENT BANK demands judgment against MILLER (as of October

  31, 2022) in the amount of $46,628.54 with per diem interest thereafter in the amount of $7.18,

  plus costs, reasonable attorney's fees and post judgment interest.




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                                                         Respectfully submitted,


                                                         /s/ Adam B. Cooke
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